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Todd M. Friedman, Esq. (SBN; 216752) m f ~_r`~i'#é.-.-`§.'*ji"‘i:if '~'.~'.'."H»Y
Nicholas J. Bontrag@r, Esq. (SBN: 252114) "'*"Y"AF€'A'C""’F'
tfriedman@attorneysforconsumers .com "`D Y "-~.-_-~__..

nbontrager@attomeysforconsumers.com
369 S. Doheny Dr,, #415

Beverly Hills, CA 90211

Telephone: (877) 206-4741

Facsimile: (866) 633-0228

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALlFORNIA

CASEY BLOTZER, ) Case No. SACV14-00233 .JLS (RNBX)
INDIVIDUALLY AND ON BEHALF)

OF ALL OTHERS SIMILARLY CLASS ACTION
SITUATED,
COMPLAINT FOR DAMAGES
. . AND INJUNCTIVE RELIEF
Plamtlff, PURSUANT TO THE TELEPHONE

CONSUMER PROTECTION ACT,
47 U.S.C. § 227, ET SEQ.

JURY TRIAL DEMANDED
vs.

TAX DEFENSE NETWORK, INC.,

Defendant.

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CLASS ACT]ON COMPLAINT - l

 

 

 

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INTRODUCTION

I. CASEY BLOTZER (“Plaintift”) brings this Class Action Complaint
for damages, injunctive relief, and any other available legal or equitable remedies,
resulting from the illegal actions of TAX DEFENSE NETWORK, INC.
(“Defendant"), in negligently and/or’willfully contacting Plaintiff on Plaintiff’s
cellular telephone, in violation of the Telephone Consumer Protection Act, 47
U.S.C. § 227 et Seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff
alleges as follows upon personal knowledge as to herself and her own acts and
experiences, and, as to all other matters, upon information and belief, including
investigation conducted by his attorneys

2. The TCPA was designed to prevent calls like the ones described
herein, and to protect the privacy of citizens like Plaintiff. “Voluminous consumer
complaints about abuses of telephone technology - for example, computerized
calls dispatched to'private homes - prompted Congress to pass the TCPA.” Mz`ms
v. Arrow Fz'n. Se)'vs., LLC, 132 S. Ct. 740, 744 (20l2).

3. In enacting the TCPA, Congress intended to give consumers a choice
as to how corporate similar entities may contact them, and made specific findings
that “[t]echnologies that might allow consumers to avoid receiving such calls are
not universally available7 are costly, are unlikely to be enforced, or place an
inordinate burden on the consumer TCPA, Pub.L. No. 102_243, § 11. ln
support of this, Congress found that

[b]anning such automated or prerecorded telephone calls to the
home, except when the receiving party consents to receiving the call
or when such calls are necessary in an emergency situation affecting
the health and safety of the consumer, is the only effective means of
protecting telephone consumers from this nuisance and privacy
invasion.

 

 

 

CLASS ACTION COMPLAINT - 2

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ld. at § 12; see also Marz‘z'n v. Leaa’ing Ea’ge Recovery Solutz`ons, LLC, 2012 WL
3292838, at* 4 (N.D.lll. Aug. lO, 2012) (citing Congressional findings on
TCPA’s purpose).

4. Congress also specifically found that “the evidence presented to the
Congress indicates that automated or prerecorded calls are a nuisance and an
invasion of privacy, regardless of the type of call...." Id. at §§ 12-13. See also,
Mims, l32 S. Ct. at 744.

5 . As Judge Easterbrool< of the Seventh Circuit recently explained in a

TCPA case regarding calls to a non~debtor similar to this one:

The Telephone Consumer Protection Act is well known for its
provisions limiting junk-tax transmissions A less»litigated part Of
the Act curtails the use of automated dialers and prerecorded
messages to cell phones, whose subscribers often are billed by the
minute as soon as the call is answered-and routing a call to
voicernail counts as answering the call. An automated call to a
landline phone can be an annoyance; an automated call to a cell
phone adds expense to annoyance

Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
JURISDICTION AND VENUE

6. 'l`his Court has federal question jurisdiction because this case arises

out of violations of federal`law. 47 U.S.C. §227(b); Mz'ms v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740 (2012).

7. Venue is proper in the United States District Court for the Central
District of California pursuant to 18 U.S.C. § 1391(b) and l44l(a) because
Defendant is subject to personal jurisdiction in the County of Los Angeles, State

of California.

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CLASS ACTlON COMPLA[NT - 3

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PARTIES

8. Plaintiff is, and at all times mentioned herein was, a citizen and
resident of the State of California. Plaintiff is, and at all times mentioned herein
Was, a “person” as defined by 47 U.S.C. § 153 (10).

9. Plaintiff is informed and believes, and thereon alleges, that
Defendant is, and at all times mentioned herein was, a corporation whose State of
Incorporation and principal place of business is in the State of Florida.
Defendant, is and at all times mentioned herein was, a corporation and is a
“person,” as defined by 47 U.S.C. § 153 (10). Plaintiff alleges that at all times
relevant herein Defendant conducted business in the State of California and in the
County of Los Angeles, and within this judicial district.

FACTUAL ALLEGATIONS

10. At all times relevant, Plaintiff was a citizen of the County of Los
Angeles, State of California. Plaintiff is, and at all times mentioned herein was, a
“person" as defined by 47 U.S.C. § 153 (10).

ll. Defendant is, and at all times mentioned herein was, a corporation
and a “person,” as defined by 47 U.S.C. § 153 (10).

12. At all times relevant Defendant conducted business in the State of
California and in the County of Los Angeles, within this judicial district

13. On or about September 27, 2013 the Defendant called the Plaintif`f
on her cellular phone in an attempt to solicit business regarding Plaintist alleged
tax issues with the lnternal Revenue Service and left a message which utilized an
artificial or prerecorded voice.

14. On or about September 30, 2013, the Defendant called the Plaintiff
on her cellular phone and left a voice message This ca11 Was placed by the

Defendant to the Plaintiff at or about 6arn.

CLASS ACTlON COMPLA[N'I` ~ 4

 

 

 

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15. On or about October 9, 2013 the Defendant called Plaintiff on her
cellular phone and left a voicernail message.

16. On or about October 17, 2013, the Defendant called the Plaintiff on
her cellular phone .

17. These phone call placed to Plaintiffs cellular telephone was placed
via an “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. §
227 (a)(l) as prohibited by 47 U.S.C. § 227 (b)(l)(A).

18. The telephone number that Defendant, or its agent called was
assigned to a cellular telephone service for which Plaintiff incurs a charge for
incoming calls pursuant to 47 U.S.C. § 227 (b)(l).

19. These telephone calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227 (b)(l)(A)(i).

20. At no time, including as of September 27, 2013, did Plaintiff

Defendant for any reason and/or provide Defendant or its agents with prior
express consent to receive unsolicited phone calls utilizing a prerecorded,
artificial voice or ATDS, pursuant to 47 U.S.C. § 227 (b)(l)(A).

21. These telephone calls by Defendant, or its agents, violated 47 U.S.C.
§ 227(b)(l).

CLASS AC'l`ION ALLEGATIONS

22. Plaintiff brings this action on behalf of herself and on behalf of and
all others similarly situated (“the Class”).

23. All persons within the United States who received any phone call/s
from Defendant or its agent/s and/or employee/s to said person’s cellular
telephone made through the use of any automatic telephone dialing system or pre-
recorded, artificial voice within the four years prior to the filling of the

Complaint.

CLASS ACTION COMPLA.[N'I` - 5

 

 

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Subscribe or solicit Defendant’s services as a customer rovide her number to the '
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24. Defendant and its employees or agents are excluded from the Class.
Plaintiff does not know the number of members in the Class, but believes the
Class members number in the thousands, if not more. Thus, this matter should be
certified as a Class action to assist in the expeditious litigation of this matter.

25. Plaintiff and members of the Class were harmed by the acts of

Defendant in at-least the following ways: Defendant, either directly or through its v

agents, illegally contacted Plaintiff and the Class members via their cellular
telephones by using an ATDS or an artificial, pre-recorded voice, thereby causing
Plaintiff and the Class members to incur certain cellular telephone charges or
reduce cellular telephone time for which Plaintif`f` and the Class members
previously paid, and invading the privacy of said Plaintiff and the Class members
Plaintiff and the Class members were damaged thereby.

26. This suit seeks only damages and injunctive relief for recovery of
economic injury on behalf of the Class, and it expressly is not intended to request
any recovery for personal injury and claims related thereto. Plaintiff reserves the
right to expand the Class definition to seek recovery on behalf of additional
persons as warranted as facts are learned in further investigation and discovery.

27. The joinder of the Class members is impractical and the disposition
of their claims in the Class action will provide substantial benefits both to the
parties and to the court The Class can be identified through Defendant’s records
or Defendant’s agents’ records

28. There is a well-defined community of interest in the questions of law
and fact involved affecting the parties to be represented The questions of law
and fact to the Class predominate over questions which may affect individual
Class members, including the following:

a) Whether, within the four years prior to the filing of this Complaint,

Defendant or its agents sent any phone calls to the Class (other than

CLASS AC'[`ION COMPLAINT - 6

" Case 8:14-cv-00233-.]LS-RNB Document 1 Filed 02/18/14 Page 6 of 14 Page |D #:20

 

 

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a message made for emergency purposes or made with the prior
express consent of the called party) to a Class member using any
automatic dialing system and/or artificial pre-recorded voice to any
telephone number assigned to a cellular phone service;

b) Whether Plaintiff and the Class members were damaged thereby, and

the extent of damages for such violation; and '

c) Whether Defendant and its agents should be enjoined from engaging

in such conduct in the future.

29. As a person that received at least one phone call and/or message via
ATDS and/or an artificial, prerecorded voice without Plaintist prior express
consent, Plaintiff is asserting claims that are typical of the Class. Plaintiff will
fairly and adequately represent and protect the interests of the Class in that
Plaintiff has no interests antagonistic to any member of the Class.

30. Plaintiff` and the members of the Class have all suffered irreparable
harm as a result of the Defendant’s unlawful and wrongful conduct Absenta
class action, the Class will continue to face the potential for irreparable harm. In
addition, these violations of law will be allowed to proceed without remedy and
Defendant will likely continue such illegal conduct. Because of the size of the
individual Class member’s claims, few, if any, Class members could afford to
seek legal redress for the wrongs complained of herein.

31. Plaintiff has retained counsel experienced in handling class action
claims and claims involving violations of the Telephone Consumer Protection
Act.

32. A class action is a superior method for the fair and efficient
adjudication of this controversyl Class-wide damages are essential to induce
Defendant to comply with federal and California law. The interest of Class

members in individually controlling the prosecution of separate claims against

CLASS AC'I`lON COMPLATNT - 7

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Defendant is small because the maximum statutory damages in an individual
action for violation of privacy are minimal. Management of these claims is likely
to present significantly fewer difficulties than those presented in_many class
claims

33. Defendant has acted on grounds generally applicable to the Class,
thereby making appropriate final injunctive relief and corresponding declaratory

relief with respect to the Class as a whole.

FIRST CAUSE OF ACTION
NEGLIGENT VIOLATIONS OF THE TCPA
47 U.S.C. 8 227 ET SEQ.

34. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

35. The foregoing acts and omissions of Defendant constitute numerous

and multiple negligent violations of the TCPA, including but not limited to each l

and every one ofthe above-cited provisions of 47 U.S.C. § 227 et seq.

36. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
seq, Plaintiff and The Class are entitled to an award of 3500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

37. Plaintiff and the Class are also entitled to and seek injunctive relief
prohibiting such conduct in the future.

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CLASS AC'I`ION COMPLAI'NT - 3

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SECOND CAUSE OF ACTION
KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECTION ACT
47 U.S.C. § 227 ET SEO_.

38. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

39. The foregoing acts and omissions of Defendant constitute numerous
and multiple knowing and/or willful violations of the TCPA, including but not
limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
seq.

40. As a result of Defendant’s knowing and/or willful violations of 47
U.S.Cl § 227 et seq, Plaintiff and The Class are entitled to an award of$l,500.00
in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
22'/(b)(3)(B) and 47 u.s.c. § 227(b)(3>(c).

41. Plaintiff and the Class are also entitled to and seek injunctive relief

prohibiting such conduct in the future

PRAYER FOR R_ELIEF
Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, and The

Class members the following relief against Defendant:

FIRST CAUSE OF ACTION
NEGLIGENT VIOLATIONS OF THE TCPA
47 U.S.C. § 227 ET SEQ.

¢ As a result of Defendant’s negligent violations of 47 U.S.C. §
227(b)(1), Plaintif`f seeks for himself and each Class member 113 1, 500.00 in
statutory damages, for each and every violation, pursuant to 47 U.S.C. §

227(b)(3)(13).

CLASS ACTION COMPLAlNT - 9

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0 Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
Such conduct in the future.

¢ l Any other relief the Court may deem just and proper.

SECOND CAUSE OF ACTION
KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
CONSUMER PROTECTION ACT
47 U.S.C. § 227 ET SEQ.

¢ As a result of Defendant’s negligent violations of 47 U.S.C. §
227(b)(l), Plaintiff seeks for himself and each Class member $l, 500.00 in
statutory damages, for each and every violation, pursuant to 47 U.S.C. §
227(b)(3)(13).

» _Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
such conduct in the future

¢ Any other relief the Court may deem just and proper.

'I`RIAL BY JURY
Pursuant to the seventh amendment to the Constitution of the United States of

America, Plaintiff is entitled to, and demands, a trial byjury.

   
 
 

Respectfully submitted January 3, 2014.

LAW GFFICES OF TO D . DMAN, P.C.

By:

 

Todd §riedman .
Law Offices of Todd Friedman, P.C.
Attorney for Plaintiff

CLASS ACTlON COMPLAINT - 10

 

 

 

 

' Case 8:14-cv-00233-.]LS-RNB Document 1 Filed 02/18/14 Page 11 of 14 Page |D #:25

UNI'I`ED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ludge losephine L. Staton and the assigned

Magistrate ]udge is Robert N. Block

The case number on all documents filed With the Court should read as follows:
SACV14-00233 ILS (RNBX)

Pursuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate ]udge has been designated to hear discovery related motions

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court;

 

Febrnary 18, 2014 By Nancv Boehme
Date Deputy Clerk

 

 

NOTICE TO COUNSEL

A copy ofthis notice must be served with the summons and complaint on all defendants (z:fa removal action is

fz'led, a copy ofthz`s notice must be served on allplainti]j‘s).

Subsequent documents must be filed at the following 10 cation:

'\Nestern Division [:1 Southern Division [:] Eastern Division
312 N. Spring Street, G-8 411 VV est Fourth St., Ste 1053 3470 TWelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location Wi]l result in your documents being returned to you.

 

CV- 1 8 (08/13) NOTICE OF ASSIGNMENT TO U'NITED STATES ]UDGES

 

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C|V|L COVER SHEET

 

 

 

1. (a) PLAINT]FFS ( Check box lf you are representing yourself [] ) DEFENDANTS (Check box ifyou are representing yourself [:j )
CASEY BLOTZER, lNDileUALL¥ AND oN BEHALF OF ALL OTHERS slMlLARLY TAX DEFENSE NETWORK' |NC.

SlTUATED .

(b) County of Residence of First Llsted Plaintiff Orange County of Residence of Flrst Listed Defendant

(EYCEPTIN U.S. PLA!N`}_'IFF CASES} (lN U.S. PLA!NTIFF CASESONLY)

(c) Attorneys (Firm Ncrrm»:'l Address and Te!ephone Number) |f you are Attorneys (Flrm Name, Address and Te/ephone Number) |f you are
representing yourse|f, provide the same information representing yourse|f, provide the same information

Law Off`lces ofTodd M. Friedman, P.C.

369 S. Doheny Dr., #415, Beverly Hi||s, CA 90211

Phone: (8771 206-4741

 

 

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VI. CAUSE OF ACT|ON (Clte the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cltejurisdictiona| statutes unless diverslty.)
47 U.S.C. 227, et seq.. Telephone Consumer Prolection Act '

 

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CIVlL COVER SHEET

Vill. VENUE’. Your answers to the questions below will determine the division ofthe Court to which this case will most likely be initially assigned This initial assignment
is subject to change, in accordance with the Court's Generai Orders, upon review by the Court ofyour Comp|a'int or Notice of Remova|.

 

Question A: Was this case removed from
state court1

 
 

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Questi`on D, below, and skip to Section iX.

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Eastern

 

 

 

 

its agencies or employees, a party to this

Question B: is the United States, or one of x

 

 

action`.'

[:] Yes |E No

Thenc
which _ti'ie nia}ority` of DEFENDANTS reside»

 

 

Western

 

 

 

 

 

lf"no, " go to Question C. |f "yes," check the i:l LOS A"Q@le$ i:i l~°$ Angel@$

box w the right T_hat_app|'es' enter the Ventural Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis

corresponding division in response to i:i Obispo [:l Obispo Western

Question D, below, and skip to Sectiori iX.
[:] Orange g Orange Southern
i:] Riverside or San Bernardino [| Riverside or San Bernardino Eastern
|j Other ij Other Western

 

 

 

 

 

 

 

rear

 

 

omities . §
. . l . ft Yq'.';i°"‘\’

 
 

.m,' -- ..

 
         

 

indicate the location in which a
majority of plaintiffs reside:

 

    
 

 

majority of defendants reside:

 
 

 

indicate the location' in which a

indicate the location in which a [:]
malority of claim arose; [:

 

 

 
   

 

 

 

 

 
 

 

[:] 2 or more answers in Coiumn C

C.1. ls either of the following true? if so, check the one that applies:

i:i only 1 answean Column C and no answers in Coiumn D

Your case wili initiain be assigned to the
SOUTHERN DlViSlON.
Enter "Southern" lri response to Question D, below.

if none applies, answer question C2 to the right.

E 2 or more answers in Co|umn 0

EA$l'ERN DlViS|ON

 

C.Z. ls either ofthe following true? |f so, check the one that appiies:

:] only 1 answer in Co|umn D and no answers in Coiumn C

Your case wiil initially be assigned to the

Enter "Eastern“ in response to Questlon D, below.

_§ |f none applies, go to the box below. t

 

 

 

Your case will initially be assigned to the
WESTERN DIV|SION.

Enter 'Wescern°' in response to Questlon D below,

 

 

 

 

 

,,`

finisth ’D:"lni‘tl'al Dlv sio`
x"'?q"séa '~?lj.h;$,, d aler fgt

 

 

 

 

Enter the initial division determined i)y Question A. B, or C above. _}

 

 

SOUTHERN

 

 

 

CV-71 [‘11/13)

CIV|L COVEi-`i SHEET

page 2 of 3

 

 

, ' F ‘Case 8:14-cv-00233-.]LS-RNB Document 1 Filed 02/18/14 Page 14 of 14 Page |D #:28
uNlTeD sTATEs orstmct couRr, cENtRAL omch oF cALrFoRmA

 

C|VlL COVER SHEET -
|X(a). lDENT|CAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO [: YES
if yesi list case numberis):
|X(b)_ RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO m YES

|fyes, list case number(s)'.

 

Clvll cases are deemed related if a previously filed case and the present case:

lcheck all boxes that applyl l:] A. Arlse from the same or closely related transactlons, ha ppenings, or events; or

g B. Cal| for determination of the same or substantially related lmllar questions of law and fact; or

   
   
   

m C. Forother reasons would entail substantial duplicati _of| or if heard by differentjudges;or

l:l D. involve the same patent. trademark or copyrigi{t._a_n_d e ofthe/factors identified above in a, b or c also is present

 

x. slGNATuRE ol= ATroRNEY 4 / ~/
ron sELF-REPRESENTED LmGANt)= /,» DATE; )anuary 3, 2014

Notlceto Counsel/Partles: The CV-7i (35-44} Civi| Cover Sheet a_nd the information m herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judrcia| Conference of the United States in September 1974, ls required PUrSUam fO Loca| Rule 3-'1 is not filed
but is used by the C|erk ofthe Court for the purpose of statistics venue and initiating the civil docket sheet. lFor more detailed instructions, see separate instructions sheet),

 

Key to Statisticai codes relating to Sociai Security Cases:

Nature of Suit Code Abbrevlation Substantlve Statem ent of Ca use of Action

A|| claims for health insurance benefits (Medicare] under Tlt|e 18, ?art A, of the Soclal Securlty Act, as amended. Aiso,

861 HIA include claims by hospitals, skilled nursing faclllties, etc., for Certificatlon as providers of services under_the program.
[42 U.S.C. `l‘JBSFF(b))

862 BL § A|| claims for 'Black Lung" benefits under Tit|e 4, Part B, of the Federai Coal Mine Hea|th and Safety Act of ‘| 969. {30 U.S.C.
923)

863 DlWC Aii claims fried by insured workers for disability insurance benefits under Title 2 of the Soclal Security Act, as amended; plus
all claimstiied for chlid's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 D|WW All claims filed for widows or widowers insurance benefits based on disability under T`itle 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (gil

864 SSlD Al| datiij for supplemental security income payments based upon disability filed under Title 16 ofthe Sociai Security Act, as
amen 2 .

855 RS| All claims for retirement (o|d age) and survivors benefits under Title 2 ofthe Socia| Security Act, as amended

(42 U.S.C. 405 (g))

 

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